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LaMONICA HERBST & MANISCALCO, LLP                                    Relates to a Hearing on October 3, 2022
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Salvatore LaMonica, Esq.
Holly R. Holecek, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 7

MYINT KYAW a/k/a JEFFREY WU,                                         Case No.: 8-20-72407-reg

                                    Debtor.
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  NOTICE OF CORRECTION TO MOTION SEEKING ENTRY OF AN ORDER: (I)
   AUTHORIZING AND APPROVING AN INITIAL REDEMPTION OF CERTAIN
 LIMITED PARTNERSHIP UNITS OF GTJ REALTY, LP; (II) AUTHORIZING THE
CHAPTER 7 TRUSTEE TO TAKE ALL STEPS NECESSARY IN CONNECTION WITH
   THE INITIAL REDEMPTION; (III) DIRECTING THE PROCEEDS FROM THE
     INITIAL REDEMPTION BE PAID TO THE CHAPTER 7 TRUSTEE; (IV)
    AUTHORIZING THE CHAPTER 7 TRUSTEE TO PAY AND SATISFY THE
   ALLOWED SECURED CLAIM OF ZEE BRIDGE CAPITAL, LLC FROM THE
PROCEEDS IN ACCORDANCE WITH THE COURT-APPROVED SETTLEMENT; (V)
AUTHORIZING THE CHAPTER 7 TRUSTEE TO TAKE ALL STEPS NECESSARY IN
 CONNECTION WITH THE DISSOLUTION OF VWU888, LLC; (VI) AUTHORIZING
             THE CHAPTER 7 TRUSTEE TO PAY ESTATE TAXES;
                  AND (VII) GRANTING RELATED RELIEF

        PLEASE TAKE NOTICE THAT the first paragraph of the motion dated September 16,

2022 (“Motion”) [ECF No. 526] is hereby corrected as indicated below (changes in bold and

underlined):

        Lori Lapin Jones, Esq., solely in her capacity as Chapter 7 Trustee (“Chapter 7 Trustee”)
        of the estate of Myint Kyaw a/k/a Jeffrey Wu (“Debtor”), by her undersigned counsel,
        seeks entry of an Order, pursuant to sections 105 and 363 of Title 11 of the United States
        Code (“Bankruptcy Code”): (i) authorizing and approving the redemption of limited
        partnership units of GTJ Realty LP representing the equivalent of 1,400,000 shares
        (“Initial Redemption”) for the sum of $16,800,000 (“Initial Proceeds”), without prejudice
        to the Chapter 7 Trustee’s right to seek to redeem and/or sell additional limited partnership
        units of GTJ Realty LP (“GTJ Realty”); (ii) authorizing the Chapter 7 Trustee to take all
        steps necessary in connection with the Initial Redemption; (iii) directing GTJ Realty to pay
        the Initial Proceeds to the Chapter 7 Trustee; (iv) authorizing the Chapter 7 Trustee to pay

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       and satisfy the allowed secured claim of Zee Bridge Capital, LLC (“ZBC”) from the Initial
       Proceeds in accordance with the Court-approved settlement; (v) authorizing the Chapter 7
       Trustee to take all steps necessary in connection with the dissolution of VWU888, LLC
       (“VWU888”), including to pay up to $25,000 from the Initial Proceeds in connection
       therewith; (vi) authorizing the Chapter 7 Trustee to pay estate taxes; and (vii) granting such
       other, further and different relief as the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE THAT the paragraph 12 of the Motion is hereby

corrected as indicated below (changes in bold and underlined):

       12.    GTJ Realty is not a public company and limited partnership units in GTJ Realty,
       including the LP Interests, are not publicly traded on any exchange.

Dated: September 23, 2022
       Wantagh, New York              LaMONICA HERBST & MANISCALCO, LLP
                                      Counsel to Lori Lapin Jones, Esq., as Chapter 7 Trustee

                              By:     s/ Holly R. Holecek
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